                     Case 2:06-cr-00174-GEB Document 43 Filed 02/08/10 Page 1 of 3
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
           JUSTIN JOHN DOBROWSKI
                      (Defendant’s Name)                                  Criminal Number: 2:06CR00174-01


                                                                          Lexi Negin
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) 1 through 6 as alleged in the violation petition filed on 11/12/09 .
[]  was found in violation of condition(s) of supervision as to charge(s)     after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
See next page.




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 8/4/06 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                 1/15/10
                                                                 Date of Im position of Sentence




                                                                 S ignature of Judicial O fficer



                                                                 GARLAND E. BURRELL, JR., United States District Judge
                                                                 Nam e & Title of Judicial Officer

                                                                 2/6/10
                                                                 Date
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AO 245D-CAED (Rev. 3/04) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                2:06CR00174-01                                                             Judgment - Page 2 of 3
DEFENDANT:                  JUSTIN JOHN DOBROW SKI

                                                       ADDITIONAL VIOLATION
                                                                                 Date Violation
Violation Num ber                    Nature of Violation                         Concluded

1&6                                  New Law Violations                          9/21/09 & 10/14/09

2                                    Failure to Participate in Substance Abuse   9/6, 18, 20 & 21/09
                                     Testing

3                                    Failure to Participate in Substance Abuse   9/11/09
                                     Counseling

4                                    Association with a Known Felon
                                     9/21/09

5                                    Failure to Report Law Enforcem ent          9/21/09 & 9/17/09
                                     Contact
                    Case 2:06-cr-00174-GEB Document 43 Filed 02/08/10 Page 3 of 3
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:06CR00174-01                                                                  Judgment - Page 3 of 3
DEFENDANT:                 JUSTIN JOHN DOBROW SKI



                                                        IMPRISONMENT
The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a total term
of 32 m onths .

32 m onths on Counts 9 & 12 of original judgm ent (statutory m axim um 36 m onths)
24 m onths on Counts 1, 25, 26 (statutory m axim um 24 m onths)
12 m onths on Count 22 (statutory m axim um 12 m onths)

All to run concurrent with each other and concurrent with Sacram ento Superior Court cases 09F07150 & 09F07619




[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated at the facility located at California City, California or
         Lom poc, California, but only insofar as this accords with security classification and space availability.


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
